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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

IN RE:                                  §       CASE NO. 21-60086
NEUTRAL POSTURE, INC.,                  §
                                        §       CHAPTER 11 PROCEEDING
       Debtor                           §       SUBCHAPTER V

                   NOTICE OF EMERGENCY FIRST DAY HEARINGS

       PLEASE TAKE NOTICE that, as set forth in the motions described below emergency
hearings on the following motions:
1.     DEBTOR’S EMERGENCY MOTION FOR ORDER UNDER 11 U.S.C. §§ 105(a) AND
366 (I) PROHIBITING UTILITY COMPANIES FROM ALTERING OR DISCONTINUING
SERVICE ON ACCOUNT OF PREPETITION INVOICES, (II) APPROVING DEPOSIT AS
ADEQUATE ASSURANCE OF PAYMENT, (III) ESTABLISHING PROCEDURES FOR
RESOLVING REQUESTS BY UTILITY COMPANIES FOR ADDITIONAL ASSURANCE OF
PAYMENT, AND (IV) SCHEDULING A HEARING TO CONSIDER ADDITIONAL
ADEQUATE ASSURANCE OF PAYMENT REQUESTS [Docket #2];
2.     MOTION FOR ENTRY OF ORDER AUTHORIZING (A) MAINTENANCE OF
CERTAIN BANK ACCOUNTS AND CONTINUED USE OF EXISTING BUSINESS FORMS
AND CHECKS; (B) CONTINUED USE OF CASH MANAGEMENT SYSTEM; AND (C)
WAIVING CERTAIN U.S. TRUSTEE REQUIREMENTS [Docket #3];
3.     DEBTOR’S EMERGENCY MOTION TO ESTABLISH NOTICE PROCEDURES AND
TO LIMIT NOTICE [Docket #4];
4.     DEBTOR’S EMERGENCY MOTION FOR ENTRY OF AN ORDER AUTHORIZING
THE DEBTOR TO MAINTAIN AND PERFORM ITS OBLIGATIONS TO EMPLOYEES IN
ACCORDANCE WITH PRE-PETITION PRACTICES [Docket #5];
5.     DEBTOR’S EMERGENCY MOTION FOR INTERIM AUTHORITY TO USE CASH
COLLATERAL PURSUANT TO SECTION 363(C) [Docket #6]; and
6.     DEBTOR’S EMERGENCY MOTION FOR AN ORDER (I) AUTHORIZING THE
PAYMENT       OF   PRE-PETITION      CLAIMS     OF   CRITICAL   VENDORS;   AND    (II)
ESTABLISHING A PROTOCOL FOR ADDING CRITICAL VENDORS [Docket #7]

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have been scheduled for November 3, 2021, at 10:30 a.m. (central time) in the Bankruptcy
Courtroom 401, 1515 Rusk, Houston, TX 77002. IF YOU DESIRE COPIES OF THE
UNDERLYING PLEADINGS, PLEASE CONTACT THE DEBTOR’S ATTORNEY IN
WRITING TO REQUEST SUCH.
       It is anticipated that all persons will appear telephonically and also may appear via
video at this hearing. Audio communication will be by use of the court’s regular dial-in
number. The dial-in number is +1 (832) 917-1510. you will be responsible for your own long-
distance charges. you will be asked to key in the conference room number. Judge Lopez’s
Conference Room Number is 590153.
       Parties may participate in electronic hearings by use of an internet connection. Video
participation is available via GoToMeeting. To use GoToMeeting, the court recommends
that you download the free GoToMeeting application prior to the hearing. If a browser
connection is used, chrome is generally recommended. A mobile version of the application is
also available. The meeting code is “judgelopez”. You may also connect directly by clicking
the link on Judge Lopez’s home page on the Southern District Of Texas website. Once
connected, click the settings icon in the upper right corner and enter your name under the
personal information setting.
No further notice of these emergency hearings shall be sent.
Respectfully submitted on November 1, 2021.

                                             HOWLEY LAW PLLC

                                             /s/ Eric B. Terry______
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                                             Eric B. Terry, State Bar No. 00794729
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                                             PROPOSED COUNSEL FOR THE DEBTOR




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
served via the Court’s ECF System and/or via U.S. First Class Mail, postage paid, on November
1, 2021, to the parties on the attached service list and to all parties that have requested ECF
notifications in this matter. Additionally, counsel for secured creditors JP Morgan Chase Bank
and T2W, LLC have been noticed via email.

                                             /s/ Eric B. Terry
                                           Eric B. Terry




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